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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   Civil Action No. 16-CV-01789-WJM-SKC

   JOHN DOE,

          Plaintiff,

   v.

   PHILIP DISTEFANO, in his official capacity as
   Chancellor of the University of Colorado,
   Boulder,

          Defendant.


                       STIPULATED MOTION TO DISMISS WITH PREJUDICE


          Plaintiff and Defendant (“Parties”) submit the following Stipulated Motion to

   Dismiss with Prejudice.


          The Parties have resolved and settled all issues between them and as a part of

   their agreement stipulate that this lawsuit, including all claims, be dismissed with

   prejudice.


   Each party is to bear its own fees, costs and expenses.


          WHEREFORE, the Parties respectfully request that this action and all claims

   here in be dismissed with prejudice.


          Respectfully submitted this 16th day of July, 2019.
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   Attorney for Defendant:                           Attorney for Plaintiff:

   s/ David P. Temple                                s/ Philip Byler
   David P. Temple                                   Philip Byler
   Senior Associate University Counsel               Nesenoff & Miltenberg LLP
   University of Colorado                            363 7th Avenue, Fifth Floor
   Office of University Counsel                      New York, NY 10001
   1800 Grant Street, Suite 700                      pbyler@nmllplaw.com
   Denver, CO 80203
   David.Temple@cu.edu




                                  CERTIFICATE OF SERVICE

          I hereby certify that on July 16, 2019, I electronically filed the foregoing with the
   Court’s electronic filing system (CM/ECF) which will automatically cause notification to be
   sent to the following counsel of record:

    Philip Byler                                    Patrick Tooley
    Andrew T. Miltenberg                            John A. Hutchings
    Tara J. Davis                                   Dill Dill Carr Stonbraker & Hutchings, PC
    Nesenoff & Miltenberg LLP                       455 Sherman Street, Suite 300
    363 7th Avenue, Fifth Floor                     Denver, CO 80203
    New York, NY 10001                              pdtooley@dillanddill.com
    pbyler@nmllplaw.com                             jhutchings@dillanddill.com
    amiltenberg@nmllplaw.com                        Attorneys for Plaintiff
    tdavis@nmllplaw.com
    Attorneys for Plaintiff


                                                    s/ Linda Ruth Carter
                                                    Linda Ruth Carter, Paralegal




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